                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
                                                   )       No. 3:07-CR-15
V.                                                 )       (JORDAN/SHIRLEY)
                                                   )
                                                   )
DANIEL REYES, aka                                  )
DANIEL REYES-GARCIA                                )


                       ORDER OF DETENTION PENDING TRIAL

              This matter came before the Court on defendant’s initial appearance and

arraignment on an Indictment on May 21, 2007. Ed Schmutzer, Assistant United States

Attorney, was present representing the government and Paula Voss, Assistant Federal

Defender, was present representing the defendant. The defendant was present. The

government moved for detention because BICE has placed a detainer against the defendant.

Ms. Voss stated that she has explained to her client that there is a detainer lodged against him

and that the defendant has signed a Waiver of Detention Hearing. Therefore, Ms. Voss has

asked that the detention hearing be continued indefinitely. 18 U.S.C. § 3142(f)(2).

              Both the defendant’s attorney and the government’s attorney agreed this

situation constitutes good cause under 18 U.S.C. § 3142(f)(2), and the Court agrees and

therefore this detention hearing is continued indefinitely. Until that time, the defendant will

remain in detention. The defendant stated he understands that he will remain in detention.

              The defendant has been informed that a prompt hearing would be scheduled



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if he becomes eligible and requests a detention hearing. Accordingly, The defendant is

committed to the custody of the Attorney General or his designated representative for

confinement in a correction facility separate, to the extent practicable, from persons awaiting

or serving sentences or being held in custody pending appeal. The defendant shall be

afforded a reasonable opportunity for private consultations with defense counsel. On order

of a court of the United States or on request of an attorney for the government, the person in

charge of the corrections facility shall deliver the defendant to the United States Marshal for

the purpose of an appearance in connection with a court proceeding.

                     IT IS SO ORDERED.

                                    ENTER:



                                             s/ C. Clifford Shirley, Jr.
                                           United States Magistrate Judge




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